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  9                         UNITED STATES DISTRICT COURT
 10
                  CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
 11

 12

 13   IN RE ETHEREUMMAX INVESTOR            Case No. CV 22-163 MWF (SKx)
      LITIGATION
 14

 15                                         DEFENDANT PAUL PIERCE’S
                                            NOTICE OF MOTION AND
 16   This Document Relates to:             MOTION TO DISMISS THIRD
                                            AMENDED CLASS ACTION
 17    ALL ACTIONS                          COMPLAINT; MEMORANDUM
                                            OF POINTS AND
 18                                         AUTHORITIES

 19

 20
                                            Hearing Date: September 25, 2023
 21                                         Time:         10:00 a.m.
                                            Courtroom: 5A – First St. Courthouse
 22
                                            Judge:        Michael W. Fitzgerald
 23
                                            Compl. Filed: January 7, 2022
 24
                                            TAC Filed: June 26, 2023
 25                                         Trial Date:   Not Scheduled
 26

 27

 28                                                      CV 22-163 MWF (SKx)
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  1                      NOTICE OF MOTION AND MOTION TO DISMISS
  2    TO ALL PARTIES HEREIN AND THEIR ATTORNEYS OF RECORD:
  3               PLEASE TAKE NOTICE that on September 25, 2023 at 10:00 a.m., or as
  4    soon thereafter as this matter may be heard, in Courtroom 5A before the Honorable
  5    Michael W. Fitzgerald, located at First Street Courthouse, 350 W. 1st Street, Los
  6    Angeles, CA 90012, Defendant Paul Pierce (“Pierce”) will and does hereby move this
  7    Court (“Motion”) for an Order dismissing portions of the Third Amended Class
  8    Action Complaint (ECF No. 163) (the “TAC”).
  9               Specifically, Pierce moves to dismiss: (1) both securities claims alleged against
 10    him (both titled the “Ninth Causes of Action,” for Manipulation and Insider Trading,
 11    respectively) (TAC ¶¶ 417–31 and 446–61)1; (2) the First, Third, Fifth and Sixth
 12    Causes of Action for deceptive practices to the extent premised on Pierce’s Twitter
 13    posts on May 28, 2021 (screen shot) and May 30, 2021 (long haul) (TAC ¶¶ 69, 82,
 14    205, 207, 210, 276, 278, 281, 333, 338, 340, 366); and (3) the claims and prayer for
 15    injunctive relief (TAC ¶¶ 229, 266, 301, 355, 378, 430 and Prayer for Relief ¶ F). In
 16    light of the Court’s Order on the motions to dismiss the Second Amended Complaint,
 17    Pierce does not move to dismiss the Second Cause of Action (UCL “unfair” prong)
 18    or the First, Third, Fifth and Sixth Causes of Action to the extent premised on Pierce’s
 19    Twitter post on May 26, 2021 (EthereumMax link) (TAC ¶ 76).
 20               This Motion is made pursuant to Federal Rules of Civil Procedure 9(b),
 21    12(b)(1), and 12(b)(6) and is based on this Notice of Motion and Motion, the
 22    accompanying Memorandum of Points and Authorities, the court filings in this action,
 23    such matters of which this Court must or may take judicial notice, the arguments of
 24    counsel, and such other materials and arguments as may be presented by the parties
 25    or the Court may otherwise properly consider in deciding this Motion.
 26    1
         The TAC misnumbers several of the claims, including, relevant to this Motion, the
 27    claim for insider trading, which is titled the Ninth Cause of Action but presumably
       should have been numbered the Eleventh Cause of Action. (TAC at 148.)
 28                                                      CV 22-163 MWF (SKx)
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  1               This Motion is filed per the briefing and hearing schedule set forth in this
  2    Court’s Order on the parties’ stipulation issued on July 13, 2023. (ECF No. 168.)
  3               Pursuant to Civil Local Rule 7-3, on July 10, 2023, counsel for the parties met
  4    and conferred regarding this Motion.
  5
       Dated: August 1, 2023                     KATTEN MUCHIN ROSENMAN LLP
  6

  7
                                                 By: /s/Joel R. Weiner
  8                                                  Joel R. Weiner
                                                 Attorneys for Defendant Paul Pierce
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  1    I.         INTRODUCTION.
  2               In their Third Amended Class Action Complaint (“TAC”), Plaintiffs
  3    significantly changed their allegations against Pierce. Plaintiffs now admit that the
  4    wallet which formed the only basis for their claims that Pierce purchased and sold
  5    EMAX Tokens did not actually belong to Pierce (see, e.g., TAC ¶ 68)2, which means
  6    that none of those transactions can form the basis for a claim against Pierce. However,
  7    Plaintiffs did not, in response to this realization that the wallet did not belong to
  8    Pierce, add any allegations of purchases or sales by Pierce himself. Instead, they
  9    simply kept in the same allegations of transactions by that wallet, acting as if
 10    purchases or sales by someone other than Pierce has relevance with regard to Pierce;
 11    but they do not. Plaintiffs do not allege any purchases or sales by Pierce, and thus the
 12    securities claims and certain aspects of the consumer law claims against Pierce must
 13    be dismissed.
 14               As discussed below, there are two securities claims alleged against Pierce. The
 15    newly added Manipulation claim (Ninth Cause of Action)—directed almost entirely
 16    at other defendants—barely mentions Pierce in a one-sentence conclusory allegation
 17    of “parking” that does not allege any facts at all against Pierce much less a plausible
 18    claim against him. (TAC ¶ 424.) The Insider Trading claim (second Ninth Cause of
 19    Action) fails not only because Plaintiffs have failed to correct the defects the Court
 20    found last round as explained below, but also because under Plaintiffs’ changed
 21    allegations Pierce is no longer alleged to have purchased or sold any EMAX Tokens.
 22               Portions of the consumer law claims should also be dismissed given the
 23    changed allegations. There was nothing misleading in the May 28 tweet—a screen
 24
       2
 25      Plaintiffs changed paragraph 68 from “a wallet owned/controlled by Pierce received
       and sold millions of dollars’ worth of EMAX Tokens” (SAC ¶ 75 (emphasis added))
 26    to “a wallet closely connected to Pierce” (TAC ¶ 68 (emphasis added)). Plaintiffs did
       so with the supposed “connection” being that the wallet traded in tokens of an
 27    unrelated company, Ethernity, that sponsored a charity poker tournament Pierce once
       played in. (TAC ¶ 71.)
 28                                   1                  CV 22-163 MWF (SKx)
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  1    shot with emojis added—and Plaintiffs have not alleged otherwise. As to Pierce’s
  2    May 30 tweet, Plaintiffs claim that it was misleading to state he was “n for the long
  3    haul,” but their only basis for that is their allegation in paragraph 83 that the owner of
  4    the wallet—not Pierce—sold EMAX Tokens three days after that tweet was posted.
  5    (TAC ¶ 83.) Clearly, that someone else sold EMAX Tokens three days after Pierce
  6    said he was “n for the long haul” does not show that Pierce was not in it for the long
  7    haul. As such, these two tweets are not deceptive as pled and should be dismissed as
  8    a basis for the consumer claims in the First, Third, Fifth, and Sixth Causes of Action,
  9    leaving only the May 26 post (EthereumMax link) (id. ¶ 76) as a basis for those
 10    claims. This motion does not challenge the Second Cause of Action (UCL “unfair”
 11    prong).
 12               As the TAC now alleges, Pierce was a paid celebrity promoter and did not trade
 13    millions of dollars’ worth of tokens on his promotional tweets. The securities claims
 14    should be dismissed without leave to amend and the consumer law claims narrowed.
 15    II.        PLAINTIFFS NO LONGER ALLEGE ANY PURCHASES OR SALES
 16               OF EMAX TOKENS BY PIERCE.
 17               For more than one year, through two Complaints in this case alone, Plaintiffs
 18    have claimed that Pierce attempted to hide that the wallet displayed in Pierce’s May
 19    28, 2021 tweet was his, but that Plaintiffs’ counsel through their sleuthing determined
 20    that it was Pierce’s. (Compl. ¶ 52; SAC ¶ 76.) They then claimed that all the
 21    transactions they alleged were connected to that wallet were Pierce’s transactions.
 22    Significantly, they did not allege any sales or purchases by Pierce other than those
 23    connected to that wallet.
 24               Because Pierce, at the motion to dismiss stage, had to accept the allegations of
 25    the previous complaints as true, he could not bring a motion to dismiss based on the
 26    grounds that, in reality, that wallet did not belong to Pierce and that he did not make
 27    any of the millions of dollars of purchases or sales alleged against him. But now,
 28                                   2                  CV 22-163 MWF (SKx)
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  1    Plaintiffs have finally realized that what Pierce’s counsel has been telling them is
  2    true—that wallet did not belong to Pierce.3
  3               Thus, Plaintiffs have attempted to pivot, but in doing so, have undermined most
  4    of their case against Pierce. They now allege that the wallet does not belong to Pierce,
  5    but they still spend the bulk of their allegations against Pierce describing sales and
  6    purchases by whoever actually owned that wallet, even though that is now irrelevant.
  7    Yet incredibly, Plaintiffs have not changed their allegations to claim any purchases
  8    and sales by Pierce. They instead continue to list all the same transactions as before,
  9    as if nothing had changed in their allegations. The result is that there is not a single
 10    allegation in the TAC that Pierce bought or sold even one EMAX Token.4 Plaintiffs’
 11    failure to claim any purchases or sales by Pierce is fatal to most of their claims against
 12    Pierce, particularly the securities claims and also some of the consumer law claims.5
 13

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 16    3
         Because all the arguments being brought by this Motion could not have been brought
 17    by Pierce against either of the previous Complaints, it is not barred by F.R.C.P.
       12(g)(2), which only bars a party from “raising a defense or objection that was
 18    available to the party but omitted from its earlier motion.” Fed. R. Civ. Proc. 12(g)(2).
       The arguments raised in this Motion were not available to Pierce until now.
 19    4
         There are a few allegations late in the TAC that vaguely refer to Pierce purchases or
       sales, but they clearly refer back to the wallet transactions and not any transactions
 20    by Pierce himself. (See, e.g, TAC ¶ 453.)
       5
 21      Plaintiffs’ only attempt to connect the wallet to Pierce is an implausible and
       unsupported claim that the wallet “is controlled by someone either working as an
 22    agent on his behalf or close to him personally.” (TAC ¶ 71.) Plaintiffs’ entire basis
       for this allegation is that the wallet did some trades in Ethernity tokens and Pierce
 23    once played in poker tournament sponsored by Ethernity. (Id.) A card game is hardly
       a sufficient basis for such an allegation. Further, this allegation contradicts the SEC
 24    order upon which Plaintiffs heavily rely: Plaintiffs allege “[t]he SEC order states that
       the [May 28] tweet of the screenshot was of another person’s holdings that were
 25    provided to him for promotional purposes.” (Id. ¶ 70.) So this was a wallet provided
       to him by EMAX for promotional purposes, not a wallet controlled by Pierce. Indeed,
 26    Plaintiffs allege that someone else was the “ultimate owner” of the wallet. (Id. ¶ 85.)
       Plaintiffs cannot bootstrap a claim by implying conspiracy; such claims do not exist
 27    under California Securities Law, as the Court held in dismissing the conspiracy claim
       on the prior motion to dismiss. (ECF No. 161, Order at 2.)
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  1    III. BOTH SECURITIES CLAIMS ALLEGED AGAINST PIERCE MUST BE
  2               DISMISSED FOR FAILURE TO STATE A CLAIM.
  3               Pierce is named in two securities claims. The first of those, labeled as the Ninth
  4    Cause of Action, beginning at paragraph 417 of the TAC, is for alleged violation of
  5    the manipulation sections of the California Corporate Securities Law, California
  6    Corporations Code sections 25400 and 25500. (TAC ¶ 417–31.) The second securities
  7    claim brought against Pierce is also (mis)labeled as the Ninth Cause of Action,
  8    beginning at paragraph 446, and is for insider trading, based on California
  9    Corporations Code section 25402.6 (Id. ¶ 446–61.)
 10               Both of these securities claims against Pierce require, as an element, that he
 11    purchased or sold EMAX Tokens. Thus, Plaintiffs’ failure to allege even one purchase
 12    or sale by Pierce dooms those claims against Pierce. Furthermore, other required
 13    elements of these claims are completely absent or are alleged without the required
 14    specificity under Rule 9(b). Neither claim even applies to Pierce, as addressed below.
 15    After many attempts at pleading a claim, the securities claims against Pierce should
 16    be dismissed without leave to amend.
 17               A.   The Ninth Cause of Action Fails to State a Manipulation Claim
 18                    against Pierce.
 19                    1.     Pierce Cannot Have Engaged in Manipulation Because He
 20                           is Not Alleged to Have Bought or Sold Any EMAX
 21                           Tokens.
 22               As Plaintiffs themselves allege, in paragraph 419 of the TAC, section 25400
 23    can apply only “in connection with the purchase or sale of any security . . . .” (TAC ¶
 24    419.) In paragraph 419, Plaintiffs then list the type of transactions which would
 25    violate section 25400, all of them involving the defendant purchasing or selling a
 26    6
         Pierce’s name also appears in the body of the Eighth Cause of Action for
 27    “Qualification,” but that claim is not alleged against Pierce and it is unclear why his
       name is mentioned. (See, e.g, TAC ¶ 413.)
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   1    security. (Id.)
   2               However, as detailed above, Plaintiffs never allege Pierce bought or sold even
   3    one EMAX Token. Thus, by definition, he could not have committed manipulation
   4    or violated section 25400 in any manner alleged by Plaintiffs. That alone calls for
   5    dismissal of this cause of action against Pierce.
   6               In addition, the allegations of the manipulation cause of action make it clear
   7    that Pierce does not belong in that cause of action. In their allegations, Plaintiffs lay
   8    out different ways a party could be liable for manipulation, such as wash sales,
   9    matched orders, parking, etc., and allege how different defendants allegedly engaged
  10    in such activities. (TAC ¶¶ 420–23.) But Pierce is never even mentioned in any of
  11    those paragraphs—there are no claims in those paragraphs that he engaged in wash
  12    sales, or parking, or matched sales, or anything else. (Id.) Pierce’s name does not even
  13    appear in this cause of action until paragraph 424, which is a one-sentence paragraph
  14    that only says, in its entirety: “Likewise, Defendants Perone, Maher, Davis, Rechnitz,
  15    and Pierce, each engaged in improper parking by their use of various pass-through
  16    wallet addresses to obscure their respective ownership and control over the wallets
  17    and the digital assets within.” (Id. ¶ 424.) Inserting Pierce’s name into this sentence
  18    without any other factual allegations as to what he supposedly did does not state a
  19    plausible claim and falls far short of the requirements of Rule 9(b). See, e.g., In re
  20    McKesson, 2018 WL 2197548 at *15-16 (N.D. Cal. 2018) (fraud based securities
  21    claims must comply with Rule 9(b)); In re Accuray, Inc. Shareholder Derivative Lit.,
  22    757 F. Supp. 2d 919 (N.D. Cal. 2010); In re Verisign, Inc., Derivative Litig., 531 F.
  23    Supp. 2d 1173 (N.D. Cal. 2007).
  24               That conclusory statement is not only insufficient to support a claim, but is
  25    contrary to the allegations of the TAC. The only transactions Plaintiffs allege are tied
  26    to Pierce are ones connected to a wallet whose address was given to Pierce to
  27    publicize for promotional purposes. Pierce could not have “obscur[ed]” his
  28                                   5                  CV 22-163 MWF (SKx)
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   1    “ownership and control” over that wallet because he did not have any ownership or
   2    control over that wallet.7 (TAC ¶ 424.) Pierce does not belong in the manipulation
   3    cause of action and it should be dismissed against him.
   4                     2.    The Only Manipulation Claim Against Pierce is Alleged
   5                           Parking, But What is Alleged is Not Parking.
   6               “Parking,” in short, is a sham transaction typically used to circumvent
   7    regulatory requirements. As an example, a broker-dealer sells shares to a third party
   8    with the understanding that the third party will repurchase the shares at a later date in
   9    a maneuver that allows a firm to reduce their position for disclosure deadlines. Courts
  10    have variously referred to parking as “contrived transactions designed to remove
  11    securities from the firm’s inventory in order to avoid the required haircuts,” […] “a
  12    purported transfer of ownership in securities combined with a secret [repurchase]
  13    agreement,” […] “sham transactions,” […] “not in fact bona fide purchases,” […] a
  14    “deceptive device to overstate [a] firm’s net capital position,” […] or a “scheme,”
  15    […] used “to circumvent net capital requirements.” Yoshikawa v. S.E.C., 192 F.3d
  16    1209, 1213 (9th Cir. 1999) (citations omitted).
  17               In Yoshikawa, the Ninth Circuit extensively examined what constitutes
  18    “parking” of securities, and concluded the following:
  19               Based on our review and analysis of the “parking” case law, we conclude
  20               that securities “parking” is, at a minimum, comprised of the following
                   elements:
  21               (1) a pre-arrangement to sell and then buy back securities (to conceal
  22               true ownership);
                   (2) on the same, or substantially the same, terms (thus keeping the
  23
                   market risk entirely on the seller);
  24               (3) for a bad-faith purpose, accomplished through a sham transaction in
                   which nominal title is transferred to the purported buyer while the
  25

  26    7
         Plaintiffs also give no indication how this supposed “parking” damaged Plaintiffs in
  27    any manner. Plaintiffs do not allege that they made any purchase or sale decision
        based on what wallets Pierce supposedly owned or controlled.
  28                                   6                  CV 22-163 MWF (SKx)
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   1               economic incidents of ownership are left with the purported seller.
   2    Id.
   3               Plaintiffs do not even come close to alleging that Pierce did anything like
   4    parking. They do not claim that Pierce arranged for someone else to buy his EMAX
   5    Tokens with the agreement that he later buy them back at the same or any price. As
   6    best as Pierce can tell, all Plaintiffs allege is a conclusory claim that Pierce supposedly
   7    obscured the ownership and control of unspecified wallet addresses. That is not
   8    parking or any kind of market manipulation claim.
   9               B.    The Eleventh (Mislabeled Ninth) Cause of Action Fails to State
  10                     a Claim for Insider Trading against Pierce.
  11                     1.    Pierce Cannot Have Engaged in Insider Trading Because
  12                           He is Not Alleged to Have Bought or Sold Any EMAX
  13                           Tokens.
  14               As Plaintiffs themselves allege in their insider trading cause of action, section
  15    25402 makes it illegal “to purchase or sell any security of the issuer in California at a
  16    time when that person knows” certain material information. (TAC ¶ 451.) Indeed,
  17    when ruling on the motions to dismiss the SAC, this Court dismissed the insider
  18    trading claim against defendant Perone because “Plaintiffs do not allege even a single
  19    sale of EMAX Tokens by Defendant Perone.” (ECF No. 161, Order at 25.) The Court
  20    allowed the insider trading claim against Pierce to remain because of the allegations
  21    in the SAC alleging transactions by the wallet, and the SAC’s claim that such wallet
  22    transactions were by Pierce. (Id.)
  23               However, since Plaintiffs have been forced to concede that Pierce was not the
  24    owner of the wallet, and Plaintiffs have not in the TAC specified any purchases or
  25    sales made by Pierce himself but only wallet purchases, Plaintiffs have no claim
  26    against Pierce for violation of section 25402, just like they did not have a claim against
  27    defendant Perone.
  28                                   7                  CV 22-163 MWF (SKx)
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   1                     2.    Because Plaintiffs Changed Their Allegations so that the
   2                           Wallet Sales No Longer are Alleged to be Made by Pierce,
   3                           Plaintiffs Now Lack Privity with Pierce.
   4               Due to the fact that Pierce did not sell any EMAX Tokens, Plaintiffs lack privity
   5    with Pierce, which is required under this cause of action. The Court previously
   6    decided that there was possible privity between Plaintiffs and Pierce because “there
   7    could be a plausible argument that the Tokens Plaintiffs purchased were the same
   8    Tokens Pierce sold off given the massive number of Tokens he is alleged to have sold
   9    on dates in which certain Plaintiffs purchased Tokens.” (ECF No. 161, Order at 23-
  10    24.) But now, Plaintiffs no longer allege that Pierce sold off a massive number, or any
  11    number, of Tokens. Pierce clearly cannot have privity with any Plaintiff when he did
  12    not sell any Tokens.
  13               Indeed, when one eliminates the wallet transactions, Plaintiffs’ claims against
  14    Pierce are even weaker than those that were made in the SAC against Mayweather,
  15    which this Court found insufficient:
  16               Plaintiffs contend that, although Mayweather’s representatives refused
  17               payment for his promotions in EMAX Tokens, Defendant Davis “later
                   clarified” during a podcast that Mayweather did get paid in EMAX Tokens
  18               and then sold them off. (SAC ¶ 123). This allegation is far too vague to
  19               raise an inference of privity, as it does not specify how many Tokens
                   Mayweather supposedly received or when he sold them off.
  20
        (ECF No. 161, Order at 24.)
  21
                   Having abandoned claiming that Pierce sold a massive number of Tokens,
  22
        Plaintiffs now lack privity and are without a cause of action for insider trading.8
  23

  24

  25
        8
  26      Once again, though the Court previously made certain rulings on privity, Pierce
        could not have raised the defense as discussed above until Plaintiffs materially
  27    changed their allegations in the TAC, and therefore Pierce’s arguments comply with
        F.R.C.P. 12(g)(2).
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   1                    3.     Plaintiffs Could Have an Insider Trading Claim Against
   2                           Pierce Only if They Sold Tokens to Him, but Plaintiffs
   3                           Allege Only that They Purchased Tokens.
   4               In addition, even if there were sufficient allegations that Pierce purchased and
   5    sold Tokens, Plaintiffs do not have standing to bring a claim for insider trading. First,
   6    as the Court noted, “It is not clear to the Court that the sale of the Tokens, after the
   7    celebrity promotions were publicized, can be regarded as improper given the sales
   8    occurred once the relevant information became public.” (ECF No. 161, Order at 26.)
   9    So any sales by Pierce are not relevant.9
  10               Second, while the Court stated that it is possible that purchases made before
  11    the celebrity promotions could be problematic (id.), none of the Plaintiffs could have
  12    a claim based on such purchases. If a defendant purchased Tokens based on insider
  13    information that there was about to be a celebrity promotion that would increase the
  14    stock price, the persons damaged by that would be those who sold their Tokens to the
  15    insider at the artificially low price before the promotions occurred. Those who bought
  16    the stock before the information came out would not be damaged—indeed, they could
  17    have benefited.
  18               Not surprisingly, Pierce has not located any case in which a purchaser of a
  19    security was able to bring a claim regarding a defendant purchasing stock using
  20    insider information that good news was about to be announced that would boost the
  21    stock price. That is a claim brought by sellers. But none of the Plaintiffs has alleged
  22    that they sold any Tokens to anyone, much less to Pierce. They allege only that they
  23    purchased Tokens. (TAC ¶¶ 448, 457, 459.) Plaintiffs cannot state any claim for
  24    insider trading based on their purchases of Tokens.
  25
        9
  26      Indeed, section 25402 applies only to information “which is not generally available
        to the public,” and does not apply where defendant “has reason to believe that the
  27    person selling to or buying from him is also in possession of the information.” Cal.
        Corp. Code § 25402.
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   1               Likewise, Plaintiffs cannot make a claim based on Pierce’s receiving Tokens
   2    from the Executive Defendants. Such Tokens clearly were not purchased from any
   3    Plaintiff; thus, no Plaintiff could have been damaged by Pierce receiving such Tokens.
   4               C.    Plaintiffs Totally Defied this Court’s Order that They Not
   5                     Incorporate Mass Numbers of Previous Paragraphs in Their
   6                     Causes of Action and that They Cite to the Specific Paragraphs
   7                     that Detail the Conduct that Forms the Basis for Their Claims.
   8               In its ruling regarding the SAC, the Court specifically admonished the Plaintiffs
   9    for “shotgun pleading,” and specifically for mass incorporation of previous
  10    paragraphs without giving the reader a clue as to which incorporated paragraphs apply
  11    to which claim or which defendant. The Court held:
  12               While Plaintiffs may incorporate by reference previous paragraphs of the
  13               Complaint into each claim, they may not incorporate each and every
                   factual allegation into each claim. Plaintiffs should cite to the specific
  14               paragraph(s) that detail the conduct they believe renders that specific
  15               Defendant liable for a specific securities violation.
  16    (ECF No. 161, Order at 28.)
  17               Plaintiffs blithely ignored the Court’s Order. The manipulation claim starts
  18    with paragraph 417, which indiscriminately incorporates paragraphs 1-434, going
  19    even beyond the beginning of the cause of action. (TAC ¶ 417.) It incorporates every
  20    cause of action previous to it, even though many of those causes of action are not even
  21    against the defendants named in the manipulation claim. It incorporates dozens of
  22    paragraphs in which Pierce is not named. It gives no clue whatsoever which
  23    incorporated paragraphs in which Pierce is mentioned actually apply to the
  24    manipulation claim. Plaintiffs’ approach is particularly egregious as to Pierce, given
  25    that he is barely mentioned in the cause of action for manipulation, with his name
  26    seemingly randomly jammed in a list of defendants in a one-sentence conclusory
  27    allegation. (Id. ¶ 424.)
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   1               The insider trading claim has the same defect. It starts at paragraph 446 and
   2    incorporates paragraphs 1-185, again bringing into the claim dozens of paragraphs
   3    that never mention Pierce. (TAC ¶ 446.) This cause of action never states which of
   4    those 185 paragraphs actually are part of the insider trading claim against Pierce.
   5               Thus, the TAC gives no indication, and no specification under Rule 9(b) or just
   6    the basic rules of pleading, of the actual actions by Pierce or Plaintiffs that constitute
   7    the securities causes of action. Plaintiffs do not specify which specific purchases or
   8    sales by Pierce are the bases for their claims. They do not specify which purchases by
   9    Plaintiffs are the purchases on which they base their standing or damages. They just
  10    make a series of broad, vague allegations and leave it to Pierce and the Court to guess
  11    at what Plaintiffs’ claims truly are.
  12               The Court made clear in its Order, “[t]his will be Plaintiffs’ final opportunity
  13    to amend. Any future successful motions to dismiss will be granted without leave to
  14    amend.” (ECF No. 161, Order at 23-24 (emphasis in original).) Plaintiffs’ blatant
  15    defiance of this Court’s ruling alone calls for the dismissal of the securities causes of
  16    action.
  17    IV. THE CLAIMS MADE AGAINST PIERCE IN THE FIRST, THIRD,
  18               FIFTH, AND SIXTH CAUSES OF ACTION BASED ON THE MAY 28
  19               AND MAY 30 TWEETS SHOULD BE DISMISSED BECAUSE, UNDER
  20               PLAINTIFFS’ NEW ALLEGATIONS, THOSE TWEETS WERE NOT
  21               FALSE OR MISLEADING.
  22               Pierce is a defendant in the First and Third Causes of Action, alleging violations
  23    of California Business and Professions Code section 17200; the Fifth Cause of Action,
  24    alleging violations of Florida’s Deceptive and Unfair Trade Practices Act; and the
  25    Sixth Cause of Action, alleging violations of New York’s General Business Law.
  26               Plaintiffs’ claims against Pierce in those causes of action rely entirely on three
  27    tweets posted by Pierce—one on May 26, 2021; one on May 28, 2021; and one on
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   1    May 30, 2021. As the Court noted in its ruling regarding the SAC, Plaintiffs alleged
   2    two theories of deception against Pierce: one based on the May 26 tweet, which Pierce
   3    is not challenging in this Motion, and one based on the May 30 tweet. (ECF No. 161,
   4    Order at 60–61.) The Court summarized the claim regarding the May 30 tweet as
   5    follows: “Plaintiffs allege that Pierce falsely represented that he was invested in
   6    EMAX as a long-term investment, despite the fact that he was simultaneously selling
   7    off large amounts of Tokens.” (Id. at 61.)
   8               However, Plaintiffs’ TAC no longer alleges that Pierce was “simultaneously
   9    selling off large amounts of Tokens” after posting the May 30 tweet. (SAC ¶ 78.)
  10    Plaintiffs’ sole claim of sales of Tokens occurring after that tweet were sales by the
  11    wallet that was not owned by Pierce. (TAC ¶ 83 (“Three days after falsely telling
  12    investors he was in it “for the long haul” with EthereumMax, the Pierce display wallet
  13    sold approximately 9.7 trillion EMAX Tokens worth approximately $1,300,000.”).)
  14               Thus, Plaintiffs no longer allege that Pierce claimed he was in it for the long
  15    haul and then soon thereafter sold EMAX Tokens. Indeed, they do not allege that
  16    Pierce ever sold even a single Token after saying he was in it for the long haul. Their
  17    only claim is that Pierce said he was in it for the long haul, and then someone else
  18    sold their EMAX Tokens. Without an allegation that Pierce sold Tokens after posting
  19    the May 30 tweet, there is nothing false or misleading about that tweet, and the First,
  20    Third, Fifth, and Sixth Causes of Action premised on the May 30 tweet must be
  21    dismissed.
  22               Regarding the May 28 tweet, the focus of Plaintiffs’ allegations about that tweet
  23    in their first two complaints was their claim that Pierce was trying to conceal that he
  24    owned the wallet referenced in that tweet. Plaintiffs claimed that the careful forensic
  25    examination by their lawyers (which of course occurred long after Plaintiffs had
  26    purchased EMAX Tokens) determined this was indeed Pierce’s wallet. (Compl. ¶ 52;
  27    SAC ¶ 77.) However, Plaintiffs have now been forced to concede that, actually, that
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   1    wallet was not Pierce’s wallet. (TAC ¶ 68.) Thus, they cannot claim they were in any
   2    way misled by this tweet—when they read it, they did not think it was Pierce’s wallet,
   3    and in reality, it was not Pierce’s wallet. And indeed, Plaintiffs never allege they were
   4    misled by that tweet.
   5               Further, Plaintiffs’ only purpose in alleging that tweet is to set up their
   6    allegations about the transactions they attribute to the wallet referenced in that
   7    tweet—transactions which are now irrelevant to this action. Thus, the First, Third,
   8    Fifth, and Sixth Causes of Action premised on the May 28 tweet should be dismissed
   9    as well.
  10    V.         THE PRAYER AND CLAIMS FOR INJUNCTIVE RELIEF MUST BE
  11               DISMISSED AS THERE IS NO RISK OF FUTURE IMMINENT HARM.
  12               Finally, the allegations and Prayer for Relief against Pierce for injunctive relief
  13    should also be dismissed. The TAC fails to allege any ongoing conduct by Pierce that
  14    could plausibly put Plaintiffs at risk of imminent future injury, and, thus, the Court
  15    lacks subject matter jurisdiction to consider claims for injunctive relief against him.
  16               The Court previously dismissed Plaintiffs’ request for injunctive relief because
  17    Plaintiffs provided no allegations of an “imminent or actual [ ] threat of future harm.”
  18    (ECF No. 161, Order at 61.) Plaintiffs have not alleged, and cannot allege, any such
  19    threat of imminent future harm from Pierce, whose involvement related to several
  20    promotional Twitter posts in May and June 2021. Accordingly, the Court should
  21    dismiss without leave to amend Plaintiffs’ request for injunctive relief for lack of
  22    Article III standing. See, e.g., Clapper v. Amnesty Int’l USA, 568 U.S. 398, 409
  23    (2013) (allegations of possible future injury are not sufficient).
  24    VI. CONCLUSION.
  25               According, the Court should grant the Motion and dismiss the securities claims
  26    and portions of the consumer law claims against Pierce, as detailed above.
  27

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   1                                     Respectfully submitted,
   2
        Dated: August 1, 2023           KATTEN MUCHIN ROSENMAN LLP
   3

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   1                                CERTIFICATE OF COMPLIANCE
   2               The undersigned, counsel of record for defendant Paul Pierce, certifies that this
   3    brief contains 4,862 words, which complies with the word limit of L.R. 11-6.1.
   4
        Dated: August 1, 2023                      KATTEN MUCHIN ROSENMAN LLP
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   7                                                   Joel R. Weiner
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